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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

         In re:                                                       Chapter 11

         UBIOME, INC.,1                                               Case No. 19-11938 (LSS)

                                              Debtor.                 Hearing Date: October 2, 2019 at 10:00 a.m. (ET)
                                                                      Objection Deadline: September 20, 2019 at 4:00 p.m. (ET)

                                                                      Ref. Docket No. 14

                                                      NOTICE OF MOTION

         TO:       (A) THE OFFICE OF THE UNITED STATES TRUSTEE FOR THE DISTRICT OF
                   DELAWARE; (B) HOLDERS OF THE THIRTY (30) LARGEST UNSECURED
                   CLAIMS AGAINST THE DEBTOR; (C) COUNSEL TO THE DIP FINANCING
                   PARTIES; (D) THE LANDLORD; AND (E) ANY PARTY THAT HAS REQUESTED
                   NOTICE PURSUANT TO BANKRUPTCY RULE 2002

                   ANY PARTY RECEIVING THIS NOTICE SHOULD LOCATE ITS NAME
                     AND ITS REJECTED REAL PROPERTY LEASE IDENTIFIED ON
                   EXHIBIT 1 TO THE PROPOSED ORDER ATTACHED TO THE MOTION

                PLEASE TAKE NOTICE that on September 4, 2019, uBiome, Inc., the debtor and
         debtor in possession in the above-captioned chapter 11 case (the “Debtor”), filed the Debtor’s
         Motion for Entry of an Order, Pursuant to Sections 105(a), 365(a), and 554(a) of the Bankruptcy
         Code, Authorizing the Debtor to Reject a Certain Unexpired Lease of Nonresidential Real
         Property, Nunc Pro Tunc to the Petition Date [Docket No. 14] (the “Motion”). You were
         previously served with a copy of the Motion.

                PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be filed
         on or before September 20, 2019 at 4:00 p.m. (ET) (the “Objection Deadline”) with the United
         States Bankruptcy Court for the District of Delaware, 3rd Floor, 824 North Market Street,
         Wilmington, Delaware 19801. At the same time, you must serve a copy of any objection upon
         the undersigned proposed counsel to the Debtor so as to be received on or before the Objection
         Deadline.

              PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE MOTION WILL
         BE HELD ON OCTOBER 2, 2019 AT 10:00 A.M. (ET) BEFORE THE HONORABLE
         LAURIE SELBER SILVERSTEIN AT THE UNITED STATES BANKRUPTCY COURT FOR
         THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 6TH FLOOR,
         COURTROOM NO. 2, WILMINGTON, DELAWARE 19801.


         1
             The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019). The Debtor’s
               headquarters is located at 360 Langton Street, Suite 301, San Francisco, CA 94103.
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             PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
         ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
         REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR A HEARING.


         Dated: Wilmington, Delaware   YOUNG CONAWAY STARGATT & TAYLOR, LLP
                September 6, 2019
                                       /s/ Jordan E. Sazant
                                       Michael R. Nestor (No. 3526)
                                       Joseph M. Barry (No. 4221)
                                       Andrew L. Magaziner (No. 5426)
                                       Joseph M. Mulvihill (No. 6061)
                                       Jordan E. Sazant (No. 6515)
                                       Rodney Square, 1000 North King Street
                                       Wilmington, Delaware 19801
                                       Telephone: (302) 571-6600
                                       Facsimile: (302) 571-1253

                                       Proposed Counsel to the Debtor and Debtor in Possession




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